8:04-cr-00164-RGK-CRZ           Doc # 405      Filed: 03/18/16     Page 1 of 1 - Page ID # 1508




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )    8:04CR164-4
                                              )
                       vs.                    )    ORDER FOR DISMISSAL
                                              )
FRANCISCO AVILES,                             )
                                              )
                       Defendant.             )


       Pursuant to Motion of the United States (Filing No. 404), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the

Indictment against Francisco Aviles.

       IT IS ORDERED that the Motion to Dismiss the Indictment (Filing No. 404) is granted.

       Dated this 18th day of March, 2016.

                                              BY THE COURT:

                                              s/ Richard G. Kopf
                                              Senior United States District Judge
